Case 1:08-cr-00274-PLM        ECF No. 993, PageID.10104           Filed 02/16/16     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                           HONORABLE PAUL L. MALONEY

v.                                                  Case No. 1:08-cr-274-01

ALVIN KEITH JACKSON,

               Defendant.

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                   ORDER DENYING MOTION FOR MODIFICATION
                         OR REDUCTION OF SENTENCE

       Defendant Alvin Keith Jackson has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug

quantity, and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective

November 1, 2014. U.S.S.G. § 1B1.10(c).

       However, the amendment is of no assistance to Defendant. Defendant was held

responsible for 1,080 kilograms of cocaine, well above the 450 kilogram threshold necessary to

reach the highest base offense level. His original guideline range of 235 to 293 months has not
Case 1:08-cr-00274-PLM        ECF No. 993, PageID.10105           Filed 02/16/16     Page 2 of 2




been lowered as a result of the Amendment. Therefore, Defendant is ineligible for relief

pursuant to Amendment 782. Accordingly, Defendant’s motion is DENIED.

       IT IS SO ORDERED.



Dated: February 16, 2016                             /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge
